Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 1 of 40

other generic forms of Adriamycin, not to shift the customer to

direct shipments. The higher we can keep the price of Adriamycin,

the easier it is for you to meet your sales goals for Adriamycin.
(PH 024315).

475, As set forth above, The Pharmacia Group’s scheme to inflate its reported AWPs
and market the resulting spread to increase the market share of its drugs and its use of other “off
invoice” rebates and financial inducements to its customers has resulted in excessive
overpayments by Plaintiffs and the Class.

8. The Schering-Plough Group (Schering-Plough and Warrick)

476. The Schering Plough Group engages in an organization-wide and deliberate
scheme to inflate AWPs. The Schering Plough Group has stated fraudulent AWPs for all or
almost all of its drugs, including those set forth below. The specific drugs of The Schering

Plough Group for which relief is sought in this case are set forth in Appendix A, and are set forth

below:

SCHERING- ‘Clarinex

PLOUGH GROUP Used to relieve the sympioms cf hay fever and
hives of the skin
(Schering-Plough and | Claritin loratadine Antihistarnine
Warrick) Used to relieve or prevent the symptoms of
asthma
Claritin-D loratadine & Antibistamine
pseudoephedrine Used to treat the nasal congestion, sneezing, and
Tumny nosé caused by colds and hay fever
Diprolene aug betamethasone Antipruritic (Skin & Mucous Membrane Agent)
dipropionate Used to help relieve redness, swelling, itching,
and discomfort of many skin problems
Diprosone betamethasone Antipruritic (Skin & Mucous Membrane Agent)
dipropionate Used to help relieve redness, swelling, itching,
and discomfort of many skin problems
Elocon mometasone furoate {| Antipruritic (Skin & Mucous Membrane Agent)
Used to help relieve redness, swelling, itching,
and discomfort of many skin problems
Eulexin flutamide Antineoplastic
Used to treat cancer of the prostate gland

AMENDED MASTER CONSOLIDATED - [61 -
CLASS ACTION COMPLAINT

1534.16 0046 BSC.DOC

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 2 of 40

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Eraser tee bee yess aio a ee
Integrilin eptifibatide Cardiovascular Agent
Used im the treatment of patients with acute
coronary syndrome
Intron-A, interferon alfa-2b Immunomedulator
Used in the treatment of hairy cell leukemia and
chronic hepatitis B or C.
Lotrisone clotrimazole w/ Antifungal Agent (Anti-Infective Agent)
betamethasone Used to treat fungus infections
Nasonex mometasone furcate | Anti-Inflammatory Agent (Nasal Preparation)
(nasal) Reheve the stuffy nose, irritation, and

discomfort of hay fever and other allergies
Peg-Intron peginterferon alfa-2b | Biological Response Modifier

Used to treat chronic hepatitis C

Proventil albuterol sulfate Bronchodilator (Respiratory Agent)

Used to treat the symptoms of asthma, chronic
bronchitis, emphysema, and other hmg diseases

Rebetol ribavirin Biological Response Modifier
Used to treat hepatitis C

Sebizon sulfacetamide sodium | Anti-Infective Agent
Used in the treatment of conjunctivitis and other
ocular infections

Temodar temozolomide Antineoplastic

Used to treat a specific type of cancer of the
brain in adults whose tumors have returned

Trinalin Rep azatadine & Antihistamine
pseudoephedrine Used to treat the nasal congestion, sneezing, and
runny nose caused by colds and hay fever.
Vanceril beclomethasone Anti-Inflammatory Agent; Antiasthmatic
(nasal) Used ic help prevent the symptoms of asthma
albuterol Bronchodilator (Respiratory Agent)
Used for relief of bronchospasm in asthma
sufferers
clotrimazole Antifungal Agent (Anti-Infective Agent}
Used to treat yeast (fungus) infections of the
vagina
griseofulvin Antifungal Agent (Anti-Infective Agent}

ultramicrocrystalline | Used to treat fungus infections of the skin, hair,
fingernails, and toenails

oxaprozin Central Nervous System Agent; Antipyretic
(Analgesic)

Used in the treatment of ostecarthritis and
rheurnatoid arthritis

AMENDED MASTER CONSOLIDATED - 162 -
CLASS ACTION COMPLAINT

1534.16 0846 BSC.DOC
Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 3 of 40

uo
perphenazine Antiemetic (Gastrointestinal Agent);
Antipsychotic Agent (Psychotherapeutic Agent)
Used to treat serious mental and emotional
disorders. Also used to relieve moderate to
severe pain in some hospitalized patients
potassium chloride Electrolytic Agent

Used to prevent and treat potasium deficit
secondary to diuretic or cortiocosteroid therapy
sodium chloride Flush; Abortifacient

Used to remove medicine and blockage from
intravenous (IV) catheter. Also used to induce

abortion
sulerafate Gastrointestinal agent
. Used for short term treatment of ducdenal ulcer
theophylline er Bronchodilater (Respiratory Agent)

Used to treat and/or prevent the symptoms of
bronchial asthma, chronic bronchitis, and
emphysema

1. The Schering Plough Group Has Been the Target of Government
Investigations

477. In connection with its scheme to inflate AWPs, The Schering Plough Group has
been investigated by the Department of Justice, Texas Attorney General, West Virginia Attomey
General, California Attorney General, California Bureau of Medi-Cal Fraud and Elder Abuse,
and the Department of Health and Human Services Office of Inspector General, and the U.S.
Attomey for the District of Massachusetts.

478. On May 30, 2003, Schering Plough announced that the U.S. Attomey for the
District of Massachusetts had advised that its subsidiary, Schering Corporation, is the subject of
a federal grand jury investigation. Schering Plough is the target of a criminal investigation
involving: (i) providing remuneration, such as drug samples, to providers to induce the purchase
of Schering products for which payment was made through federal health care programs;

(ii) selling misbranded or unapproved drugs; (iii) submitting false wholesale pricing information

for its pharmaceutical products to the government; and (iv) destroying evidence and obstructing

AMENDED MASTER CONSOLIDATED - 163 -
CLASS ACTION COMPLAINT

1534.36 0046 BSC, DOC

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 4 of 40

justice relating to the government’s investigation. See Schering Plough Press Release dated
May 30, 2003, located at hitp://Awww.sch-plough.com/news/2003/business/20030530.html;
“Schering Plough expects indictment,” The Philadelphia Inquirer, at C3 (May 31, 2003).
Moreover, according to Schering Plough’s Form 10-K for the year 2000, this investigation has
focused on “whether the AWP set by pharmaceutical companies for certain drugs improperly
exceeds the average prices paid by dispensers . . . and other pricing and/or marketing practices.”

479. A Medicaid investigation by the Texas Attorney General revealed that The
Schering-Plough Group defrauded the State of Texas $14.5 million. Investigators determined
that The Schering-Plough Group provided the greatest “spread” amongst the drug companies
selling albutero! in Texas, and thereby obtained the largest market share for albuterol. The
Schering-Plough Group sold a box of albuterol to pharmacies for $13.50, while it charged the
Texas Medicaid program $40.30, a 200% increase. See Cornyn Sues Three Drug Companies for
Medicaid Fraud, Press Release by the Office of the Attorney General, State of Texas, Sept. 7,
2000. (www.oag.state.tx.us.gov)

480. On October 11, 2001, the West Virginia Attomey General filed suit against
Warrick, alleging that Warrick defrauded state agencies and citizens by deliberately overstating

the AWP for certain drugs, including albuterol, from approximately 1995 until December 2000.

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AMENDED MASTER CONSOLIDATED - 164 -
CLASS ACTION COMPLAINT

1534.16 0046 BSCDOC

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 5 of 40

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Thus, Warrick touted a 529% spread on its albuterol
inhalation aerosol and a 482% spread on the refill.

484. Ina report to Congress, the GAO reported that albuterol sulfate was one of a
small number of products that accounted for the majority of Medicare spending and volume.
Albuterol sulfate accounted for 6.3% of total Medicare spending, ranking fifth out of more than
400 covered drugs. Albuterol sulfate ranked first for volume of units covered, accounting for

65.8% of total units reimbursed, See GAO Report to Congressional Committees, “Payments for

AMENDED MASTER CONSOLIDATED - 165 -
CLASS ACTION COMPLAINT

1534.16 0046 BSC.DOC

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 6 of 40

Covered Outpatient Drugs Exceed Providers’ Cost,” Tables 1 and 2, pp. 7-8 (GAO-01-0118
(P005546-005578)). The Schering Plough Group is one of three companies noted by the DOJ as
manufacturing albuterol. See DHHS report, AB-00-86 (P006299-0063 16).

485. According to The Schering Plough Group’s own documents, the published AWPs

for most of its drugs were higher than the actual prices provided to wholesalers.

486.
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AMENDED MASTER CONSOLIDATED - 166 -
CLASS ACTION COMPLAINT

1534.16 0046 BSC.DOc

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 7 of 40

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TABLE 3

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4, The DOJ Specifically Documented AWP Inflation for Albuterol Sulfate

487. ina report published by the DHHS (AB-00-86 (P006299-006316)), the DOI
documented at least one instance where the published AWPs for various dosages of albuterol
sulfate manufactured by The Schering Plough Group were substantially higher than the actual
prices listed by wholesalers. The following figures compare the DOSJ’s determination of an
accurate AWP for one particular dosage, based upon wholesalers’ price lists, with the AWP
reported by The Schering Plough Group in the 2001 Red Book: The Schering-Plough Group
reported to Red Book an AWP of $30.25 for albuterol sulfate, yet the DOJ determined the actual
AWP to be $9.16, or $21.09 less.

488. As stated in a May 4, 2000, letter from U.S. Rep. Tom Bliley, Chairman of the

Congressional Committee on Commerce, to Raman Kapur, President of Warrick:

{am writing to you because one of the drugs reflecting a
significant variation between the AWP-based prices paid by
Medicare and the prices generally charged to private sector
purchasers is albuterol sulfate, a drug manufactured by Warrick
Pharmaceuticals.

(P006938-006941).

AMENDED MASTER CONSOLIDATED - 167 -
CLASS ACTION COMPLAINT

1534.16 0046 3SC.DOC

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 8 of 40

489.  Inhis May 4, 2000, letter, Bliley outlined The Schering Plough Group’s scheme
with respect to the prescription drug albuterol sulfate. The government’s investigation
uncovered a significant spread between the amount Medicare reimbursed for albuterol sulfate

and the amount the Schering-Plough Group actually charged. U.S. Rep. Bliley stated:

The OIG [Office of the Inspector General] has determined that the
Medicare-allowed amount for albuterol sulfate, a pharmaceutical
product sold by your company, in the Fiscal Year 1996 was $.42.
The OIG further estimated that the actual wholesale price of this
drug was $.15 and the highest available wholesale price that the
OIG was able to identify was $.21.

Id.

3. The Schering Plough Group Provided Free Goods and Other Incentives

490. In addition to marketing the spread, The Schering Plough Group has utilized other
impermissible inducements to stimulate sales of its drugs. These inducements were designed to
result in a lower net cost to the provider while concealing the actual wholesale price beneath a
high invoice price. By utilizing “off-invoice” inducements, The Schering Plough Group
provided purchasers with substantial discounts meant to gain their patronage while maintaining
the fiction of a higher wholesale price.

491, As set forth above, The Schering Plough Group’s scheme to inflate its reported
AWPs and market the resulting spread to increase the market share of its drugs and its use of
other “off invoice” rebates and financial inducements to its customers has resulted in excessive |
overpayments by Plaintiffs and the Class.
T. The Sicor Group (Sicor, Gensia and Gensia Sicor)

492. The Sicor Group engages in an organization-wide and deliberate scheme to inflate
AWPs. The Sicor Group has stated fraudulent AWPs for all or almost all of its drugs, including
those set forth below. The specific drugs of The Sicor Group for which relief is sought in this

case are set forth in Appendix A, and are identified below:

AMENDED MASTER CONSOLIDATED - 168 -
CLASS ACTION COMPLAINT

1534, 36 0046 BSC.DOC

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 9 of 40

SICOR GROUP acyclovir sodium Anti-lnfective Agent

(Sicor, Gensia and Used in the treatment of herpes infections
Gensia-Sicor)
amikacin sulfate Antibiotic Agent (Anti-Infective Agent)

Used to treat respiratory tract, urinary tract,
bone, skin and soft tissue infections

amphotercin b Antifungal Agent (Anti-Infective Agent)
Used to help the body overcome sericus fungus
infections

doxorubicin Antineoplastic

hydrochloride Used in the treatment of ovarian cancer and
AIDS-related Kaposi’s sarcoma

etoposide Mitotic Inhibitor (Antineoplastic)

Used in the treatment of testicular neoplasm and
smail cell cancer of the ling

leucovorin calcium Antianemic Agent (Blood Modifier)
Used in the treatment of anemia

pentamidine Anti-Infective Agent

isethionate Used in the treatment of pneumonia

tobramycin sulfate Antibiotic Agent (Anti-Infective Agent)
Used to treat severe infection

1. The Sicor Group Has Been the Target of Government Investigations
493. In connection with its scheme to mmflate AWPs, The Sicor Group has been
investigated by the Department of Justice, Department of Health and Human Services Office of

Inspector General, the Texas Department of Health, and the California Attorney General.

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AMENDED MASTER CONSOLIDATED - 169 -
CLASS ACTION COMPLAINT

1534.16 0044 BSC DOC

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 10 of 40

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495.

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3. The Sicor Group’s AWP Manipulation Benefited Providers at the Expense of
the Class

496. The Sicor Group has engaged in an ongoing deliberate scheme to inflate AWPs.
For example, by letter dated September 25, 2000 to the HCFA administrator, the Chairman of the
Commerce Committee revealed that: “f1]n 1998, a health care provider could buy Gensia’s
Etoposide for $14.00, while the AWP used to determine Medicare reimbursement was $141.97.”
(P087015-P007490).

497, The Sicor Group’s marketing strategies further demonstrate its fraudulent
practices. In a marketing document prepared by Gensia and obtained by the government in its

investigation, Gensia stated:

Concentrate field reps on the top 40 AIDS hospitals using a $54.00
price in conjunction with a 10% free goods program to mask the
final price. Provides the account with an effective price of $48.60
per vial.

AMENDED MASTER CONSOLIDATED -170-
CLASS ACTION COMPLAINT

1534.16 0046 BSC_DOC

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 11 of 40

See letter dated September 28, 2000 from U.S. Rep. Pete Stark to Alan F. Holmer, President of
the Pharmaceutical Research and Manufacturers of America. (P007512).
498. Certain handwritten notations appear on this same marketing document

comparing the AWP with other prices used for the same drug:

FSS $44.95
Whls $71.00
Distr. $51.50
AWP $109.20
(P007532).
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AMENDED MASTER CONSOLIDATED -171-
CLASS ACTION COMPLAINT

1534.16 0046 BSC_DOC

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 12 of 40

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4. Specific Sicor Group AWPs Documented by the DOJ

301. Inareport published by the DHHS, the DOJ documented at least 17 instances
where the published AWPs for various dosages of drugs manufactured by The Sicor Group were
substantially higher than the actual prices listed by wholesalers. The chart below sets forth the
drugs identified by the DOJ and the spread associated with one particular dosage of each drug.
These figures compare the DOJ’s determination of an accurate AWP for that particular dosage,

based upon wholesalers’ price lists, with the AWP reported by The Sicor Group in the 2001 Red

Book.
Drug The Sicor Group’s DOJ Determined Difference Spread
2001 Red Book AWP Actual AWP
Acyclovir Sodium $125.00" $100.00 $25.00 25%
Amikacin Sulfate ~ $87.50 $72.68 $14.82 20%
Tobramycin Sulfate $342.19 56.98 $335.21 4,302%

(P006299-006316).
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? Calculation based on the AWP listed in the 2000 Red Book,

AMENDED MASTER CONSOLIDATED -172-
CLASS ACTION COMPLAINT

1534.16 0046 BSC.DOC

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03

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AMENDED MASTER CONSOLIDATED -1733-

CLASS ACTION COMPLAINT

1538.16 0046 BSC.DOC

Page 13 of 40

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 14 of 40

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505. Asset forth above, The Sicor Group’s scheme to inflate its reported AWPs and
market the resulting spread to increase the market share of its drugs and its use of other “off
invoice” rebates and financial inducements to its customers has resulted in excessive
overpayments by Plaintiffs and the Class.

U. TAP
506. TAP engages in an organization-wide and deliberate scheme to inflate AWPs.

TAP has stated fraudulent AWPs for Prevacid, as set forth in Appendix A, and identified below:

TAP Prevacid lansoprazole Proton Pump Inhibitor (Gastrointestinal
Agent)
Used in the short-term treatment of duodenal
ulcer, erosive esophagitis and
gastroesophageal reflux disease

L. TAP Has Been the Target of Government Investigations

507. In connection with its scheme to inflate AWPs, TAP has been investigated by the
Department of Justice.

508. On October 13, 2001, the United States Attomey in Boston, Massachusetts
announced that TAP had agreed to pay $875 million to resolve criminal charges and civil
liabilities in connection with its fraudulent pricing and marketing practices for the drug named
Lupron®. As part of the agreement:

a TAP agreed to plead guilty to a conspiracy to violate the Prescription Drug

Marketing Act, 21 U.S.C. §§ 331(t) and 333(b), and to pay a $290 million criminal fine,

the largest criminal fine ever in a health care fraud prosecution. The plea agreement

between the United States and TAP specifically stated that TAP’s criminal conduct
caused the Government losses of $145,000,000;

AMENDED MASTER CONSOLIDATED -174-
CLASS ACTION COMPLAINT

1534, 36 0046 BSC.DOC

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 15 of 40

b. TAP agreed to pay the United States Government $559,483,560 for filing
false and fraudulent claims with the Medicare and Medicaid programs as a result of
TAP’s fraudulent drug pricing schemes and sales and marketing misconduct;

c. TAP agreed to pay the fifty states and the District of Columbia
$25,516,440 for filing false and fraudulent claims with the States, as a result of TAP’s
drug pricing and marketing misconduct, and for TAP’s failure to provide state Medicaid
programs TAP’s best price for Lupron®, as required by law;

d. TAP agreed to comply with the terms of a sweeping Corporate Integrity
Agreement that, among other things, significantly changes the manner in which TAP
supervises its marketing and sales staff and ensures that TAP will report to the Medicare
and Medicaid programs the true average sale price for drugs reimbursed by those
programs;

& Abbott and Takeda agreed to cooperate fully with the ongoing government
investigation of TAP and its former officers and employees in exchange for the United
States declining prosecution of Abbott and Takeda for conduct relating to Lupron®; and

f. An Indictment was unsealed in the District of Massachusetts against six
current or former TAP employees (including an account executive, three District
Managers, a National Accounts Manager and the former Vice President of Sales), and a
urologist, alleging that they conspired to (i) bill Medicare for free samples of Lupron®

_ and (ii) market Lupron® using the “spread” and the “return to practice” program.
The TAP defendants have been sued in a separate class action in connection with their fraudulent
pricing and marketing practices for Lupron®.
509. Atahearing in the criminal matter, which has an extensive record, United States

District Court Judge William G. Young found:

This has been a gross abuse of the Medicare/Medicaid repayment
system, knowing, intelligent. You have demonstrated, and it’s all

AMENDED MASTER CONSOLIDATED -175-
CLASS ACTION COMPLAINT

1534.16 0046 BSC.DOC

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 16 of 40

been confirmed in open court, and I don’t want anyone forgetting
about the fact that this company, not under its present
Inanagement, knowingly abused the public trust in a most, and I
use my words carefully, despicable way.
United States v. TAP Pharm. Prods., Inc., No. CR-01-10354-WGY (D. Mass. Dec. 6, 2001).

2. TAP Controls the Published AWP for Its Products

510. TAP has controlled and set the AWPs for its pharmaceutical products through
direct communications with industry compendia during the Class Period.

3. TAP’s AWP Manipulation Benefited Providers at the Expense of the Class

511. According to Criminal Information filed against several doctors and the
Indictment filed against six former TAP employees and a urologist, TAP referred its practice of
inflating the AWP for Lupron and the corresponding inducement to the physicians as its “Retum
to Practice” program.

512. At various times, TAP employees would conduct a “Business Review Meeting”
with individual doctors or their staff to explain in detail how a doctor could make money by
buying Lupron® and exploiting the spread.

513. TAP created sophisticated computer programs, including spreadsheets for use
with physicians, to further explain how “Return to Practice” worked and how much money a
physician could make from the spread. These computer programs were loaded onto laptop
computers used by sales representatives and taken directly into physician’s offices.

514. TAP knew and understood that, because Medicare and other insurers relied upon
the Publishers to establish AWPs, and because TAP could precisely control the published AWP,
TAP could increase whenever they so desired the profit obtained by physicians from Plaintiffs
and the Class.

4, TAP Provided Free Goods and Other Incentives

515. In addition to marketing the spread, Watson has utilized other impermissible

inducements to stimulate sales of its drugs. These inducements were designed to result ina

AMENDED MASTER CONSOLIDATED -176-
CLASS ACTION COMPLAINT

1534, 16 0046 BSC.DOC

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 17 of 40

lower net cost to the provider while concealing the actual wholesale price beneath a high invoice
price.

516. For example, TAP has pled guilty to illegally conspiring with medical providers
to provide free samples which would then be billed to Medicare. In an October 3, 2001, press

release that referenced the guilty plea, TAP’s president, Thomas Watkins, stated:

We admit that TAP provided free samples of Lupron to a number
of physicians, primarily in the early to mid-1990s, with the
knowledge that those physicians would seek and receive
reimbursement. The billing for free samples is wrong, and it
should never have happened.

517. TAP has also provided and/or arranged for many other non-public financial
inducements to stimulate the sales of its drugs at the expense of Plaintiffs and the Class. Such
inducements included volume discounts, rebates, off-invoice pricing, free goods, credit memos,
consulting fees, debt forgiveness and grants. All of these incentives are designed to lower the
cost of the drug to the medical provider while concealing the actual cost from Plaintiffs and the
Ciass.

518. For example, the Indictment alleges three specific instances when TAP employees
offered an HMO, a urology practice and a hospital unrestricted “educational grants” of more than
$75,000 to continue their use of Lupron. It offered Tufts HMO $65,000 in grants.

519. Another way that TAP funneled illicit payments to physicians was through the
“TAP into the Future” program, which consisted of providing physicians with all-expense paid
weekends at luxurious resorts. These junkets were disguised as educational or consulting
programs, with all of the doctors in attendance designated as “consultants” even though the
doctors who attended did not do anything that could reasonably be deemed consulting services.

320. Asset forth above, TAP scheme to inflate its reported AWPs and market the

resulting spread to increase the market share of its drugs and its use of other “off invoice” rebates

AMENDED MASTER CONSOLIDATED -177-
CLASS ACTION COMPLAINT

1534.16 0046 BSC DOC

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 18 of 40

and financial inducements to its customers has resulted in excessive overpayments by Plaintiffs
and the Class.

5. TAP Concealed Its AWP Manipulation

521. TAP deliberately acted to conceal its fraudulent reporting and marketing of the
AWP spread.

522, Forexample, TAP instructed physicians not to report the true price they paid for
Lupron. According to the Indictment, a TAP Senior Marketing executive, Alan MacKenzie,

advised TAP’s sales force to:

tell physicians that if doctors disclosed their invoice costs to the
Medicare Program, that Program would take steps to reduce the
maximum payment allowed for Lupron and thus reduce the
physician’s profit for Return to Practice.

523, MacKenzie also told the sales force to caution doctors not to discuss their price

discounts with other physicians and instructed TAP employees to tell urologists that:

by discussing your costs of Lupron with other physicians, you run
the risk of that information getting back to HCFA. If HCFA then
realizes that AWP is not a true reflection of the price, the AWP
could be affected, thus lowering the amounts you may charge.

524. A presentation to TAP’s sales representatives included the same statements listed

above, as well as directions for the leader of the presentation, which stated:

The main peint to make to physicians is that confidentiality clause
is a protection for them. If word is leaked back to HCF/Medicare
that the cost of Lupron is going down, they very weil may take
steps in reducing allowable. This tactic should help prevent
physicians talking amongst themselves.

V. Warrick
525. Warrick has acted to inflate AWPs pursuant to the scheme identified above. The

specific drugs are identified in Appendix A.

AMENDED MASTER CONSOLIDATED -178 -
CLASS ACTION COMPLAINT

1534.36 0046 BSC.DOC

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 19 of 40

W. Watson

526. Watson engages in an organization-wide and deliberate scheme to inflate AWPs.

Watson has stated fraudulent AWPs for all or almost all of its drugs, including: Ferrlecit,

Verapamil HCL, Vinblastine Sulfate, Vincristine Sulfate, Dexamethasone, Diazepam,

Gentamicin, Testosterone Ethanate, Vancomycin, Fluphenazine, Gemfibrozil, Imipramine,

Nadolol, and Perphenazine. The specific drugs of Watson for which relief is sought in this case

are set forth in Appendix A, and as identified below:

he

WATSON (Watson Ferrlecit sodium ferric Iron Preparation (Blood modifier)
and Schein} giuconate complex | Used for treatment of anemia in patients
in sucrose injection | undergoing hemodialysis
InfeD iron dextran Tron Preparation (Blood modifier); Nutritional

Supplement
Used for treatment of iron deficiency

dexamethasone Hormone; Glucocorticoid

acetate Used to treat inflammatory conditions,
hematologic disorders and cerebral adema

dexamethasone Hormone; Glucocorticoid

-sodium phosphate | Used to treat inflammatory conditions,
hematologic disorders and cerebral adema

diazepam Central Nervous System Agent
Used to treat status eplipeticus and anxiety
disorders. Also used as an ammesic prior to
surgical procedures

estradiol Estrogen (Hormone)

Used for treatment of menopausal symptoms
and postmenopausal osteoporosis

fluphenazine hel

Central Nervous System Agent;
Psychotherapeutic Agent
Used to manage psychotic disorders

gemfibrozil

Antilipemic Agent (Cardiovascular Agent)
Used to lower cholesterol

gentamicin sulfate

Anti-Infective Agent

Used as a general antibiotic to treat serious
gastrointestinal, respiratory, bone, skin and soft
tissue infections

imipramine hel

Central Nervous System Agent;
Psychotherapeutic Agent
Used in the treatment of depression

AMENDED MASTER CONSOLIDATED

CLASS ACTION COMPLAINT

1534.16 046 BSC.DOC

~ 179 -

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 20 of 40

Central Nervous System Agent
Used for treatment of anxiety disorders

nadolol

Antibypertensive (Cardiovascular Agent)
Used in the treatment of hypertension and
management of angina

perphenazine

Central Nervous System Agent;
Psychotherapeutic Agent ~
Used to manage psychotic disorders

propanolol hel

Beta Adrenergic Blocking Agent
(Cardiovascular Agent)
Used to treat hypertension

ranitidine hct

Histamine Receptor Antagonist (Gastrointestinal
Agent)

Used for treatment of duodenal ulcer, gastric
ulcer, gastroesophagael disease and heartburn

vancomycin het

Antibiotic Agent (Anti-Infective Agent)
Used as a general antibiotic

verapamil hel

Caicium Channel Blocker (Cardiovascular
Agent}

Used in the treatment of tachyarrhythmia,
angina and hypertension

1. Watson Has Been the Target of Government Investigations

$27. In connection with its scheme to inflate AWPs, Watson has been investigated by

the Department of Justice, Department of Health and Human Services Office of Inspector

General, and the State of California.

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AMENDED MASTER CONSOLIDATED
CLASS ACTION COMPLAINT

1534.16 0045 BSC. DOC

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- 180 -

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 21 of 40

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530. A Red Book Product Listing Verification form asks for approval of changes to the
stated AWP for Schein’s (which was later acquired by Watson) Verapamil HCL, Vinblastine
Sulfate and Vincristine Sulfate. A Schein executive okayed the changes and signed the Red

Book form. (MDLW00887).

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5. Specific Watson AWPs Documented by the DOJ

534. In areport published by the DHHS (AB-00-36), the DOJ documented at least 12
instances where the published AWPs for various dosages drugs manufactured by Watson were
substantially higher than the actual prices listed by wholesalers. The chart below sets forth the

drugs identified by the DOJ and the spread associated with one particular dosage of each drug.

AMENDED MASTER CONSOLIDATED -181-
CLASS ACTION COMPLAINT

1534.16 0046 BSC DOC

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 22 of 40

These figures compare the DOJ’s determination of an accurate AWP for that particular dosage,

based upon wholesalers’ price lists, with the AWP reported by Watson in the Red Book.

Drug Watson’s 199§- DOJ Determined Difference Spread
2001 Red Book Actual
AWPs AWP
Dexamethasone 346.45 (1998) $11.50 $34.95 304%
Acetate
Dexamethasone $93.04 (20013 $1.08 $91.96 851%
Sodium Phosphate
Diazepam 518.15 (2000) $2.50 $15.65 626%
Gentarnicin Sulfate $114.10 (1999) $1.18 $112.92 957%
Tron Dextran $377.04 (2001) $24.69 $352.35 1,427%
Testosterone Ethanate $42.10 (2001) $13.39 $28.71 214%
Vancomycin HCL $70.00 (1998) $3.84 560.16 1,567%

(P006299-P0063 16).

6. Inflated Watson AWPs From Watson’s Price Lists

535. Inresponse to government subpoenas, Watson produced numerous price lists
setting forth spreads between AWP and prices offered to wholesalers, providers and other
intermediaries. A review of those lists indicates that Watson has consistently offered drugs to its
customers at prices significantly below the published AWP, and that the spread was of great
importance to Watson’s customers. It is not practical to repeat every one of those drugs and the
spread offered to specific customers. However, set forth below in Table 1 are a number of those
drugs (not already referenced above) and the substantial spread offered to Watson customers.

536.
Schein Product Status Report, February 1996. (MDLW01237).

Table 1 is an analysis of certain dosages of Schein drugs from a chart titled

Table 1
Drug AWP wac % Spread
Fluphenazine HCL Img $46.08 $15.71 193%
Gemfibrozil 600mg $55.65 $7.95 600%
Imipramine HCL 10mg $4.45 $1.32 237%
Nadolol 20mg $85.32 $42.95 98%
Perphenazine 2mg $42.53 519.76 115%
AMENDED MASTER CONSOLIDATED - 122 -

CLASS ACTION COMPLAINT

1534.16 6046 BSC_DOC

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 23 of 40

537. As set forth above, Watson’s scheme to inflate its reported AWPs and market the
resulting spread to increase the market share of its drugs has resulted in excessive overpayments
by Plaintiffs and the Class.

7. Watson Provided Free Goods and Other Incentives

538. in addition to marketing the spread, Watson has utilized other inducements to
stimulate sales ofits drugs. These inducements were designed to result in a lower net cost to the
provider while concealing the actual wholesale price beneath a high invoice price. In one
jnstance in May 2000, Schein offered “Priority Customers” an additional 5% discount on
Ferrlecit “off invoice” for all purchases made that month. (MDLW15896.) By utilizing “off-
invoice” inducements, Watson provided purchasers with substantial discounts meant to gain their
patronage while maintaining the fiction of a higher wholesale price.

539. As set forth above, Watson’s scheme to inflate its reported AWPs and market the
resulting spread to increase the market share of its drugs and its use of other “off invoice” rebates
and financial inducements to its customers has resulted in excessive overpayments by Plaintiffs

and the Class.

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VI. DIRECT DAMAGE SUSTAINED BY PLAINTIFFS
AND THE MEMBERS OF THE AWP CLASS

541. Plaimtiffs and other Third-Party Payors also typically make reimbursement to
health care providers for pharmaceuticals based upon the AWP. Accordingly, Third-Party

AMENDED MASTER CONSOLIDATED - 183 -
CLASS ACTION COMPLAINT

1534.16 0046 BSC.DOC

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 24 of 40

Payors are directly damaged by fraudulent AWP pricing schemes for drugs covered by employee
health and benefit plans or by private insurance because reimbursement is also typically based on

the AWP, as in the case of Medicare and Medicaid reimbursement.

VIL. CERTAIN DEFENDANTS USE AWP TO ENGAGE IN A
SCHEME TO FIX PRICES —- THE TOGETHER CARD SCHEME

A. The Formation of the Together Card Conspiracy

542. Beginning in 2001 or 2002, the exact date of which is not yet known but is
discoverable, certain of the Defendants also began to use AWPs and the growing concem over
the cost of care to seniors, for another purpose — to artificially fix and/or increase the spread
between their posted AWPs and their posted wholesale acquisition cost, or WAC, in connection
with the commencement of the Together Card Program.

543. Defendants Abbott, AstraZeneca, Aventis, BMS, GSK, Novartis and J&I, through
its subsidiaries Janssen and Ortho-McNeil (“the Founding Together Card Defendants”), later
Defendant TAP, and an alliance they formed, Defendant Together Rx LLC (the “Together Card
Defendants”), have engaged in a conspiracy to fix the AWP spread of drug prices in violation of
Section | of the Sherman Act, 15 U.S.C. § 1, 18 U.S.C. § 1962(c), and certain state antitrust
laws.

544. This conspiracy was accomplished with the use of the Together Rx Card Program
(“Together Card Program”), which was supposedly designed as a prescription drug savings
program for older, uninsured and poor Americans. The Together Card Defendants, in
conjunction with their establishment and ongoing management of the Together Card Program,
have agreed and conspired among themselves to raise, fix, maintain and/or stabilize the AWP
spread of over 170 widely prescribed brand name drugs (the “Together Card Drugs”) purchased
through, and outside of, the Together Card Program.

345. The Together Card Defendants’ agreement and conspiracy have caused Plaintiffs

and the Nationwide End Payor Together Card Class during the class peried to pay more for the

AMENDED MASTER CONSOLIDATED - 184 -
CLASS ACTION COMPLAINT

1534.16 0046 BSC.DOC

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 25 of 40

Together Card Drugs than they would have if the Together Card Defendants had not engaged in
their unlawful practices. Plaintiffs and the Nationwide End Payor Together Card Ciass have
therefore been damaged due to the Together Card Defendants’ conspiracy to raise, fix, maintain
and/or stabilize the AWP spread of the Together Card Drugs.

546. Defendant Together Rx LLC, a Delaware limited liability company, was formed
by the Founding Together Card Defendants as an alliance to effectuate this conspiracy. Indeed,
these Founding Together Card Defendants refer to themselves as the “Founding Partners” of the
alliance and the Together Card Program. The alliance and Together Card Program facilitated the
sharing of price information, and the information and maintenance of the Together Card

Defendants’ conspiracy.

B. The Drug Discount Card Response to the Lack of Medicare Drug Coverage and the
Underpinnings of the Together Card Scheme

547. In 2001, Americans spent over $172 billion on prescription drugs. The total is
expected to more than double in a few years. Elderly Americans bear a disproportionate burden.
While accounting for only 13 percent of the U.S. population, seniors pay for more than one-third
of all prescription drugs. The average senior spent $1,756 for prescription drugs in 2001, with
nearly half of that ($858) coming out of pocket.

548. Congress has long debated whether to add a prescription drug benefit to the
Medicare program. Currently, however, the Medicare Program generally does not cover the cost
of self-administered prescription drugs. Accordingly, it is estimated that nearly one-third of the
40 million Medicare beneficiaries in the U.S. have no prescription drug coverage.

549. Recently, Congress began considering a number of other measures designed to
lower the cost of prescription drugs for U.S. seniors, including price controls and the importing
of cheaper drugs from countries with price controls. For example, on April 4, 2001, U.S. Rep.
Tom Allen (D-Maine) reintroduced the Prescription Drug Fairness for Seniors Act to protect

senior citizens from drug price discrimination and make prescription drugs available to Medicare

AMENDED MASTER CONSOLIDATED -185-
CLASS ACTION COMPLAINT

1S#4,16 0046 BSC.DOC

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 26 of 40

beneficiaries at substantially reduced prices. According to Rep. Allen, the legislation is intended
to allow pharmacies that serve Medicare beneficiaries to purchase prescription drugs at the
average price that the drugs are sold in other developed nations. Rep. Allen estimated that his
legislation would reduce prices for brand name prescription drugs, on average, by 40 percent.

350. Faced with growing Congressional and public scrutiny, and recognizing that true
drug pricing reform would likely involve price controls or other unwelcome government
regulation, certain Defendants introduced a number of pharmaceutical “discount” cards to
Medicare beneficianes.

1. GSK Orange Card

551. On October 3, 2001, GSK launched its Orange Card. According to a GSK press
release, the Orange Card — an innovative prescription medicine savings program for seniors in
need — was created to “help address a critical gap in prescription dmg coverage.” The Orange
Card, an extension of GSK’s patient assistance program, was purportedly designed so
participants “will realize average savings of 30% off the usual price they pay for all outpatient
GSK medicines. In some cases, savings may be 40% or greater.” The Orange Card, effective
January 1, 2002, is completely free to participants.

552. GSK claimed that Orange Card participants would receive direct savings on their
purchase of GSK outpatient prescription drugs equal to 25% of its list price to wholesalers —
AWP — as reported by First DataBank, GSK indicated that participating pharmacies will charge
Orange Card holders no more than a negotiated price for outpatient GSK. prescription drugs.
Because of variations in pharmacy prices, according to GSK, actual savings to Orange Card
participants on each prescription will vary. However, GSK expected participants to realize
average savings of 30% off the price individuals without prescription drug coverage would

usually pay for GSK medicines at their pharmacy. in some cases, GSK claimed that savings

AMENDED MASTER CONSOLIDATED - 186 -
CLASS ACTION COMPLAINT

1534.16 0046 BSC_DOC

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 27 of 40

could be 40% or greater depending on their pharmacy’s usual and customary price for the
prescribed GSK medicine.

553. The same press release quoted GSK. CEO Jean-Pierre Garnier:

The GlaxoSmithKline Orange Card program assists low-income
seniors who have no prescription coverage. We support a
Medicare prescription drug benefit, but while the issue is still
being debated m Congress, GSK wants to provide relief now for
America’s most needy seniors.

RE

We spend a great deal of time and effort in developing effective
medicmes. With the Orange Card, we hope to help participants be
able to afford to follow thei doctors’ prescribed treatment and
realize the full value of those medicines through 2 longer healthier

554. According to the October 3, 2002 press release, eleven million seniors are eligible
for the Orange Card. Those eligible are senior citizens age 65 and older, and the disabled, who
are enrolled in Medicare and: (1) have annual incomes at or below 300% of the federal poverty
level (annual incomes at or below $26,000 single or $35,000 for a couple) and (2) lack public or
ptivate insurance programs or other pharmaceutical benefit programs, such as Medicaid.

555. GSK reported that seniors and other Medicare beneficiaries could apply for the
Orange Card through healthcare providers or by calling a toll-free number. The Orange Card
application process began immediately, and participants could begin using it on January 1, 2002.
According to GSK, seniors could simply present the Orange Card with their prescription to their
pharmacist to receive the savings on GSK outpatient prescriptions. GSK retained Express
Scripts Specialty Distribution Services to administer the Orange Card program.

556. By October 2002, just one year after the launch of the Orange Card, GSK had
enrolled over 100,000 seniors and other Medicare beneficiaries. GSK’s participation in the
Together Card alliance did not affect its Orange Card program. Orange Card and Together Card

participants receive identical discounts on all GSK. outpatient prescriptions.

AMENDED MASTER CONSOLIDATED - 187 -
CLASS ACTION COMPLAINT

1534.16 0046 BSC. DOC

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 28 of 40

2. Novartis Care Card

557. In November of 2001, just one month after GSK announced the Orange Card,
Novartis launched its Care Plan. Novartis claims that the Novartis Care Plan “is a
comprehensive and flexible prescription savings plan that offers help to a broad range of lower
imcome patients enrolled in Medicare without prescription drug coverage.” The Care Plan,
effective January 1, 2002, purports to be completely free to participants.

558. The Care Plan claims to offer “participating prescription medicines to patients
with annual income up to $18,000 ($24,000 per couple) for a $12 flat fee per prescription.
Individuals whose annual income is between $18,000-28,000 ($24,000-38,000 per couple) will
receive 25-40% savings off their usual [A WP] price, on selected Novartis products.” Novartis
estimated that eleven million Medicare recipients might be eligible for its Care Plan.

359. According to Novartis, eligible applicants would receive a Care Card from either
Novartis or their participating pharmacy. Participants would present their Care Card and
prescription to a participating pharmacy. The pharmacist would automatically reduce the
participant’s cost based on his or her eligibility. In turn, Novartis paid participating pharmacies
$5 per enroilee. Novartis retamed McKesson Health Solutions to administer its Care Card.

560. Although existing cardholders could still use the Novartis Care Card, after the
launch of the Together Card im April of 2002, Novartis directed all of its new Care Plan
applicants to the Together Card.

361. Novartis, on its company website, offered an explanation as to why it forged an

alliance with six competing pharmaceutical manufacturers:

When the Novartis Care Card was launched, Novartis issued a
call-to-action asking other pharmaceutical companies to help
create an interim solution to help Medicare recipients who lack
drug coverage. Novartis joimed the Together Rx card to help this
population gain access to medicines with a single, easy-to-use

card. The Together Rx card represents a voluntary industry
contribution to an immediate interim solution for millions of
Medicare enrollees without prescription drug coverage. Each of the

AMENDED MASTER CONSOLIDATED - 188 -
CLASS ACTION COMPLAINT

1534.16 0046 BSC. DOC

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 29 of 40

participating companies supports long-term solutions by federal
and/or state governments. [Emphasis added.]

C. Implementation of the Together Rx Card Program
562. On April 10, 2002, the Together Card Defendants announced their new
pharmaceutical alliance, Defendant Together Rx, LLC. According to the Together Card

Defendants’ joint press release:

For the first time, millions of people enrolled in Medicare will
have access to savings on more than 150 widely prescribed
medicines through one free, easy-to-use card unveiled by seven
major pharmaceutical companies. By offering one-card access to
savings on more medicines than any existing pharmaceutical
company savings program, the Together Rx Card makes it easier
for 8 to 11 million Medicare enrollees who have no prescription
drug coverage to get the medicines they need to help them
maintain active and independent lifestyles.

AR

The lack of prescription drug coverage among Medicare
beneficiaries is a serious national problem that no individual
company can solve.

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Together Rx encourages other pharmaceutical companies to join
the coalition in this significant step forward,

563. BMS states on its website that it “has teamed up” with the other Together Card
Defendants to form the Together Card Program, which BMS describes as “the most
comprehensive savings program ever offered by the pharmaceutical industry.” It further states:
“One free card + seven pharmaceutical companies = significant savings.”

564, The alliance of Together Card Defendants states that it has communicated with
“about a dozen manufacturers” to join the alliance. The Chief Executive Officer of at least one
major pharmaceutical company that created its own discount card program publicly rejected 2
joint discount program among competing pharmaceutical companies because it violated
“antitrust regulations.” See Niala Boodhoo, “Lilly Joins Discount Drug Card Bandwagon,”
Reuters, Mar. 12, 2002.

AMENDED MASTER CONSOLIDATED - 189 -
CLASS ACTION COMPLAINT

1534.16 0146 BSC DOC

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 30 of 40

565. Although not a Founding Together Card Defendant, TAP’s website presently
indicates that it participates in the Together Card Program through its blockbuster drug, Prevacid
(along with Abbott}. Prevacid’s U.S. sales in 2002 totaled $3.7 billion.

566. The Together Card Defendants claim that the Together Card Program, effective in
early June of 2002, provides savings to eligible Medicare enrollees on more than 170 widely
prescribed brand name medicines, including 26 different medicines used to treat diabetes,
hypertension, high cholesterol, cancer, allergy, asthma, arthritis and depression, which are
among the most common conditions affecting older Americans.

567. The Together Card Defendants prominently proclaim that members will “save on
these brand-name medicines with Together Rx.” The medicines are: Accolate, Aciphex, Advair
Diskus, Agenerase, Albenza, Allegra, Allegra-D Extended Release Tablets, Amaryl, Amerge,
Amoxi, Anxemet Tablets, Arava Tablets, Arimidex, Atacand, Atacand HCT, Augmentin,
Avandamet, Avandia, Avodart, Axert, Azmacort Inhalation Aerosol, Bactroban Cream,
Beconase, Biaxin Filmtab, Biaxin XL Filmtab, Biaxin Granules, Bicitra, BuSpar, Carafate
Tablets and Suspension, Casodex, Ceftin Tablets and Power for Oral Suspension, Cefzil,
Clozaril, CombiPatch, Combivir, Compazine, Comtan, Concerta, Coreg, Coumadin, Daraprim
Tablets, Depakote, Depakote Sprinkle Capsules, Depakote ER, Dexedrine, DiaBeta, Diovan,
Diovan HCT, Ditropan, Duragesic, Dyazide, Elidel, Elmiron, Emla Anesthetic Disc, Emla
Cream, Entocart EC, Epivir, Epivir-HBV, Erycette, Eskalith CR, Estraderm, Exelon, Famvir,
Femara, Flexeril, Flonase, Flovent, Floxin, Focalin, Glucophage, Glucophage XR, Glucovance,
Grifulviin V, Imitrex, Kaletra, Lamictal, Lamisil, Lanoxicaps, Lanoxin, Lantus, Lasix,
Lescol/Lescol XL, Leukeran Tablets, Levaquin, Lotensin, Lotensin HCT, Lotrel, Malarone,
Mavik, Mepron, Metaglip, Miacalcin Injection & Nasal Spray, Monistat-Derm, Monopril,
Monopnil-HCT, Myceiex, Myleran, Nasacort, Nasacort AQ Nasal Spray, Neutraphos, Nexium,

Nolvadex, Norvir, Omnicef Capsules/Oral Suspension, Pancrease, Parafon Forte DSC, Parlodel,

AMENDED MASTER CONSOLIDATED ~190 -
CLASS ACTION COMPLAINT

1534.16 046 BSC.BOC

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 31 of 40

Parnate, Paxil, Plendil, Polycitra, Pravachol, Prevacid, PrevPac, Prilosec, Pulmicort Turbubaler,
Purinethol, Regranex, Relafen, Relenza, Reminy!, Renova, Requip, Rescula, Retin-A, Retrovir,
Rhinocort Aqua Nasal Spray, Risperdal, Risperdal M-Tab, Ritalin hydrochloride, Ritalin LA,
Serevent, Seroquel, Serzone, Sinemet, Sinemet CR, Spectazole, Sporanox, Starlix, Stelazine,
Synthroid, Tabloid brand Thiguanine, Tagamet, Tarka, Tegretol, Tegretol XR, Tequin, Terazol,
Thorazine, Tolectin, Topamax, Toprol-XL, Trental, TriCor, Trileptal, Trizivir, Tylenol with
Codeine, Tylox, Ultracet, Ultram, Urispas, Valtrex, Vascor, Ventolin, Vermos, Vivelle/Vivelle-
Dot, Voltaren Ophthalmic, Wellburtin SR, Zaditor, Zantac, Zelnorm, Ziagen, Zofran, Zomig,
Zomig-ZMT, Zovirax, and Zyban.

568. The drugs manufactured by Abbott and distributed through the Together Card
Program, include but may not be limited to: Biaxin Filmtab, Biaxin XL Filmtab, Depakote,
Depakote Sprinkle Capsules, Depakote ER, Kaletra, Mavik, Norvir, Omnicef Capsules/Oral
Suspension, Prevacid, PrevPac, Synthroid, Tarka, and TriCor.

569. The drugs manufactured by AstraZeneca and distributed through the Together
Card Program include, but may not be limited to: Accolate, Arimidex, Atacand, Atacand HCT,
Casodex, Emla Anesthetic Disc, Emia Cream, Entocort, Nexium, Nolvadex, Plendil, Prilosec.
Pulmicort Turbuhaler, Rhinocort Aqua, Seroquel, Toprol, Zomig, and Zomig-ZMT.

§70. The drugs manufactured by Aventis and distributed through the Together Card
Program include, but may not be limited to: Allegra, Allegra-D, Amaryl, Anzemet Tablets,
Arava Tablets, Azmacort, Carafate Tablets and Suspension, DiaBeta, Intal, Lantus, Lasix,
Nasacort, Nasacort AQ, Tilade, and Trental.

571. The drugs manufactured by BMS and distributed through the Together Card
Program include, but may not be limited to: BuSpar, Cefzil, Coumadin, Glucophage,
Glucophage XR, Glucovance, Metaglip, Monopril, Monopril HCT, Pravachol, Serzone, Sinemet,

Sinemet CR, and Tequin.

AMENDED MASTER CONSOLIDATED -191-
CLASS ACTION COMPLAINT

1534.16 0046 BSC_DOC

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 32 of 40

572. The drugs manufactured by GSK and distributed through the Together Card
Program inchide, but may not be limited to: Agenerase, Albenza, Alkeran Tablets, Amerge,
Amoxil, Augmentin, Avandamet, Avandia, Avodart, Bactroban Cream, Beconase, Ceftin Tablets
and Powder for Oral Suspension, Combivir, Compazine, Coreg, Daraprim Tablets, Dyazide,
Epivir, Epivir-HBV, Eskalith CR, Flonase, Flovent, Imitrex, Lamictal, Lanoxicaps, Lanoxin,
Leukeran Tablets, Malarone, Mepron, Myleran, Parnate, Paxil, Purinethol, Relafen, Relenza,
Requip, Retrovir, Serevent, Stelazine, Tagamet, Tabloid brand Thioguanine, Thorazine, Trizivir,
Urispas, Valtrex, Ventolin, Wellbutrin, Zantac, Ziagen, Zofian, Zovirax and Zyban.

573. The dmgs manufactured by J&J and distributed through the Together Card
Program include, but may not be limited to: Aciphex, Bicitra, Concerta, Ditropan XL,
Duragesic, Ehmiron, Erycette, Flexeril, Floxin, Grifulvin V, Haldol, Levaquin, Monistat-Derm,
Mycelex, Neutraphos, Pancrease, Parafon Forte DSC, Polycitra, Regranex, Reminyl, Renova,
Retin-A Micro, Risperdal, Spectrazole, Sporanox, Terazol, Tolectin, Topamax, Tylenol with
Codeine, Tylox, Ultracet, Ultram, Vascor and Vermox.

574. The drugs manufactured by Novartis and distributed through the Together Card
Program include, but may not be limited to: Clozaril, CombiPatch, Comtan, Diovan, Diovan
HCT, Elidel, Estraderm, Exelon, Famvir, Femara, Focalin, Lamisil, Lescol/Lescol XL, Lotensin,
Leotensin HCT, Miacalcin Injection & Nasal Spray, Parlodel, Rescula, Ritalin Hydrochloride,
Ritalin LA, Starlix, Tegretol, Tegretol-XR, Trileptal, Vivelle/Vivelle-Dot, Voltaren Opthalmic,
Zaditor, and Zelnorm.

575. The drugs manufactured by TAP and distributed through the Together Card
Program, include but may not be limited to: Prevacid.

D. Marketing of the Together Card Program

576. The Founding Together Card Defendants encouraged immediate and widespread
enrollment in the Together Card Program:

AMENDED MASTER CONSOLIDATED - 192 -
CLASS ACTION COMPLAINT

1534.16 0046 BSC_DOC

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 33 of 40

577.

The individual companies’ sales forces, which total more than
30,000 representatives, will assist in making enrollment materials
available through participating pharmacies, physicians’ offices and
community centers.

ae a

The members of Together Rx are committed to maximizing
enrollment in the Together Rx Card and at the same time to
identifying patients who may qualify for their independent [patient
assistance programs].

According to the Founding Together Card Defendants, “[p]harmacies across the

country . - . have shown strong support for the [Together Card]. In addition to accepting the card

at their retail outlets in communities across America, participating pharmacies have made the

commitment to pass through direct to the patient 100% of the savings being offered by the

pharmaceutical companies.”

578.

The website of the alliance, www.together-rx.com, addresses enrollment,

eligibility and use issues pertaining to the Together Card:

Enrollment in Together Rx is free. There is no fee to apply for or
to receive the Card. Enrollees apply for the Together Rx Card by
completing and mailing a postage-paid application available from
Together Rx.

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Together Rx Card users present the Card, along with their doctor’s
prescription (or when obtaining a refill), at a participating
pharmacy. Card users are to receive savings right at the pharmacy
counter. The Card could be used at participating retail pharmacies
beginning Jume 2002.

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Approximately 11 million Medicare enrollees may be eligible for
Together Rx. Enrollees must: (1) be a Medicare enrollee; (2) have
an annual income of less than $28,000 (individuals) or $38,000
(couples); and (3) not have public or private prescription drug
coverage. In Alaska, enrollees must have an annual income of less
than $35,000 (single) or $48,000 (couple). In Hawaii, enrollees
must have an annual income Jess than $33,000 (single) or $44,000
(couple). Households of three or more are to contact Together Rx
for eligibility information.

AMENDED MASTER CONSOLIDATED -193-
CLASS ACTION COMPLAINT

1534.16 146 BSC.DOC

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 34 of 40

579.

The Founding Together Card Defendants, in their April 10, 2002 press release and

at www.together-rx.com, claim participants in the Together Card Program will save

“approximately 20-40% off the amount [they] usually pay for prescriptions and, in many cases,

substantially more.” The Founding Together Card Defendants also note:

580.

This range of savings reflects the mix of savings programs
presently offered by each company and is subject to change. Each
company sets its own levels of savings independently, with 2
minimum savings of 15% off its list price to wholesalers [A WF].
Actual consumer savings may vary depending on a pharmacy’s
customary pricing for 2 specific medicine and each company’s
saving program requirements, including any minimum quantity
requirements. Each company independently determines which
products are included in the savings program. Products covered
are subject to change. [Emphasis added].

The Founding Together Card Defendants’ promotional efforts yielded an

immediate and tremendous response from seniors. According to another press release, by

July 29, 2002, enrollment in the Together Card Program had reached 118,000. The Founding

Together Card Defendants encouraged “other pharmaceutical companies to join this effort and

help broaden the number of products offered.” By November of 2002, enrollment was estimated

at nearly 400,000. Just weeks earlier, on October 3, 2002, a spokesman for BMS claimed that

the Together Card had already saved seniors $6.4 million on prescription drugs since June of

2002.
581.

On their Together Rx website, the Together Card Defendants offered the

following response to the question “Why are all these pharmaceutical companies doing this?”:

582.

The participating companies are committed to providing seniors
and other eligible Medicare patients with broader access to savings
on Many medications with convenience of one card. Tagether Rx
is designed to fill a gap in the system for the short term. The real
solution is implementation of Medicare reform, mcluding a
prescniption drug benefit.

The current website continues to promise savings:

Savings and medicines. Together.

AMENDED MASTER CONSOLIDATED -~ 194 -
CLASS ACTION COMPLAINT

1534.16 0046 BEC_DOC

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 35 of 40

Save big on many commonly prescribed medicines.

Together RX is a prescription savings program that offers a free,

easy way to save approximately 20% to 40% on brand-name

medicines and, in many cases, much more (depending on your

prescription and pharmacy). You can save on more than 170

medicines (click here to see the entire list). And some pharmacies

even offer savings on generics.

583. On February 3, 2003, Together Rx informed pharmaceutical industry publication

The Pink Sheet that Together Card enrollment had recently surpassed 570,000 members.

Together Rx also indicated that it had targeted 2003 enrollment at 1.5 million members.

E. The Together Card Defendants’ Conspiracy te Fix the AWP Spread of the Together
Card Drugs

584. Although claiming its purpose was to help provide Medicare beneficiaries with
“broader access to savings” on prescription pharmaceuticals, the Together Card Defendants used
their alliance and the Together Card Program te raise, fix, imaintam and/or stabilize the AWP
spread for their prescription drugs and maximize profits.

585. When the Together Card Defendants aligned themselves im order to offer a
combined drug discount card for elderly Americans, they perceived a significant problem with a
discount card effort — elderly and poor Americans might actually end up paying fess for their
prescription drugs. Although the Together Card Defendants did not necessarily object to elderly
and poor Americans paying less for drugs, they did not want to bear that expense themselves.
The quandary contimmed, however, because others in the distribution chain — major retail
pharmacy chains, PBMs, wholesalers — similarly did not wish to bear the cost of reduced
expenditures by elderly and poor Americans. Put differently, the discounts could not be bore
by retail pharmacists or wholesalers (given their claim to already being squeezed on margm).

586. Moreover, administration of the Together Card Program would itself carry some
cost. While the Together Card Defendants wished the publicity attendant on providing a “free”

discount drug card, they did not wish to bear the financial administrative costs for the program,

AMENDED MASTER CONSOLIDATED _ 195 -
CLASS ACTION COMPLAINT

1534.16 0045 BSC_DOC

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 36 of 40

and they needed to persuade retail pharmacists to participate without incurring product or
administrative costs.

587. Asaresult of their desire to avoid the financial burden of the Together Rx
Program, the Together Card Defendants conspired and agreed to simply impose the burden of the
Together Card Drugs right back upon consumers by raising reimbursement or end payor prices
(typically based on AWPs) in relation to actual cost to wholesalers, pharmacies and mail order
companies (typically tied in some way to WAC, although subject to discounting and rebates).

588. Specifically, in conjunction with the establishment and management of their
Together Card Program, the Together Card Defendants agreed to raise, fix, maintain and/or
stabilize the AWP “spread” on nearly every one of the 1704 drugs included in the Together Card
Program. The Together Card Defendants increased the AWP spread on most of their Together
Card Drugs — across many therapeutic classes and product lines. The 170+ Together Card Drugs
account for approximately 900 pharmaceutical line-items (the line-items reflecting the 170+
drugs in different forms, sizes and dosages). The AWP spread for over 80% of these line-items
were increased.

589. Put simply, by increasing the difference between posted AWPs and posted WAC,
the Together Card Defendants created spread dollars available to others in the distribution chain
as an incentive to participate in the program — all to the detriment, and only to the detriment, of
end payros (and enrollees).

590. Prior to the formation of the Together Rx alliance, the AWPs for the Together
Card Drugs reflected an AWP pricing spread of roughly 20% (AWP — WAC/WAC). Following
formation of the alliance, the Together Card Defendants increased the AWP spreads for these
same drugs to a range of 21-26%, whether sold through or outside of the Together Card Program.
As reflected by the chart below, the percentage of all Together Card Drugs manufactured by the
Together Card Defendants with an AWP spread level greater than 24% increased from 25.5 % in

AMENDED MASTER CONSOLIDATED - 196 -
CLASS ACTION COMPLAINT

1534, 16 0046 BSC DOC

Case 1:01-Cv-12257-PBS Document 443-7 Filed 07/28/03 Page 37 of 40

2000 — prior to the development and implementation of the Together Card Program — to 92% by

2002, as depicted by the following chart.

AMENDED MASTER CONSOLIDATED ~ 197 -
CLASS ACTION COMPLAINT

1534.16. 0646 BSC.DOC

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 38 of 40

Percentage of Together Card Drugs with
%of Products  AWP Spread Level > 24% from Dec. 1997 to Dec. 2002

(NDGs:

100.0%,

92.0% Together Card alliance
implemented (2002)

90.0%:

70.0%

60.0%-

Together Card alliance
designed & developed (2001)

{

40.0%

20.0%

0.0% +

12-02 42-01 12-00 42-99 12-98 12-97

AMENDED MASTER CONSOLIDATED - 198 -
CLASS ACTION COMPLAINT

1534.16 0046 BSC DOC

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 39 of 40

591. An increase in the AWP spread was often achieved through an increase in the
AWP of a Together Card Drug. An increase in AWP directly results in higher prices to Plaintiffs
and the Nationwide End Payor Together Card Class. For example, in the case of AstraZeneca’s
Prilosec (as reflected in the chart below), the AWP spread increase raised the AWP for that dmg
by $295.72. The following chart reflects, for a single drug manufactured by each Founding
Together Card Defendant, the AWP spread increase and related AWP increase which occurred as

a result of the Together Card Program.

Together Card | Together AWP WAC AWP AWP WAC AWP
Defendant Card Drug Before Before Spread After After Spread
Alliance Alliance Before Alliance Alliance After
Alliance Alliance

Abbott Biaxin 500 mg 3396.72 $334.08 18.8% $437.98 $350.38 | 25%
#60

AstraZeneca Prilosec 40 mg | $6,171.66 | 35,143.05 20% | $6,621.67 | $5,297.34 | 25%
#1000

Aventis Allegra 60 mg $118.36 $98.63 20% $123.29 $98.63 | 25%
#100

BMS Tequin 400 mg | $818.86 $682.27 20% $895.48 $716.38 | 25%
#100

GSK Combivir $1,241.26 | $1,034.38 20% { $1,370.55 | $1,096.44 | 25%
#100

J&J (Janssen) Risperdal 2 mg | $2,320.10 | $1,933.42 20% 1 $2,535.20 | $2,028.16 | 25%
#500

Novartis Exelon $246.96 $205.80 20% $267.29 $213.83 | 25%
2 mg/mi

Almost all of the Together Card Drugs experienced similar AWP spread increases and related
' AWP increases.
592. The Together Card Defendants’ increases in AWP spreads occurred in 2001 and
2002. The effectively simultaneous timing of the Together Card Defendants’ increases in AWP
spreads is unprecedented in terms of scope (i.e. number of products per manufacturer and
number of manufacturers within the pharmaceutical industry). The Together Card Defendants’
increases in AWP spread for the Together Card Drugs are not consistent with competitive

conduct.

AMENDED MASTER CONSOLIDATED - 199 -
CLASS ACTION COMPLAINT

1534.16 D6 BSC.DOC

Case 1:01-cv-12257-PBS Document 443-7 Filed 07/28/03 Page 40 of 40

593. The Together Card Defendants’ conduct 1s also inconsistent with their alleged
motive to make prescription drugs more affordable to Medicare recipients by offering discounts
on prescription prices. Indeed, the Together Card Defendants’ immediate increase of the AWP
spread on their Together Card Drugs diluted any meaningful discount for the relatively small
number of eligible consumers and raised the price for other consumers significantly beyond what
was charged prior to the Together Card Defendants’ formation of the alliance.

594. The Together Card Defendants’ conspiracy — agreeing to raise, fix, maintain
and/or stabilize the AWP spread of their Together Card Drugs under the guise of a discount
program — directly caused Plaintiffs to pay substantially more for those drugs than they would

have paid if the Together Card Defendants had not engaged in their illegal conduct.
VOI. CLASS ACTION ALLEGATIONS FOR THE AWP PAYOR SCHEME
595. Plaintiffs bring this action pursuant to Rule 23 of the Federal Rules of Civil
Procedure, on behalf of themselves and two Classes comprised of:
AWP Payor Class:
All persons or entities who, for purposes other than resale and
during the Class Period, paid any portion of the purchase for a
prescription drug manufactured by a Defendant Drug Manufacturer
(as identified in Appendix A) at a price calculated by reference to
the published AWP during the Class Period.”
Sub-Class: The PEM Third-Party Payor Class:
All Third-Party Payors that, during the Class Period, contracted
with a PBM to provide to its participants a prescription dmg
manufactured by a Defendant Drug Manufacturer and identified in
Appendix A.
Excluded from the Classes are (a) each Defendant and any entity in which any Defendant has a

controlling interest, and their legal representatives, officers, directors, assignees and successors;

' Plaintiffs reserve the right to modify the Class Definition based on class related discovery and/or merits
discovery.

AMENDED MASTER CONSOLIDATED - 200 -
CLASS ACTION COMPLAINT

1534, 16.0046 BSC DOC

